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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                          :
                                                   :
           v.                                      :       CASE NO. 21-CR-216 (JDB)
                                                   :
 LEO BRENT BOZELL IV,                              :
                                                   :
           Defendant.                              :
                                                   :


                                GOVERNMENT’S WITNESS LIST

          United States of America expects to call the following witnesses to testify at trial in this

matter:

          1. U.S. Capitol Police (“USCP”) Officer Matthew Alpert

          2. USCP Sergeant Adam DesCamp

          3. USCP Captain Carneysha Mendoza

          4. USCP Officer Adam McMahon

          5. USCP Officer Joseph Moroziewicki

          6. USCP Officer Bradley Murray

          7. USCP Sergeant Victor Nichols

          8. USCP Officer Bikram Singh

          9. USCP Captain Sean Patton

          10. USCP Officer Keith Robishaw

          11. U.S. Secret Service Inspector Lanelle Hawa

          12. Former Secretary of the Senate General Counsel Dan Schwager

          13. Safeway Stores District Manager Edgar Tippet



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                            Respectfully submitted,

                            MATTHEW M. GRAVES
                            United States Attorney
                            D.C. Bar No. 481052


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